            Case 2:22-cv-00389-DCN Document 26 Filed 03/03/23 Page 1 of 9




1
     Andrew M. Wagley, ISB #10277
2    Samir Dizdarevic-Miller, ISB #11471
3    ETTER, McMAHON, LAMBERSON,
4    VAN WERT & ORESKOVICH, P.C.
5
     618 W. Riverside Avenue, Suite 210
     Spokane, WA 99201
6
     Phone: 509-747-9100
7    Fax:    509-623-1439
8    Email: awagley@ettermcmahon.com
9    Email: samir@ettermcmahon.com
10   Attorneys for Plaintiff Cody J. Schueler
11
                         UNITED STATES DISTRICT COURT
12                   DISTRICT OF IDAHO (NORTHERN DIVISION)
13
14   CODY J. SCHUELER, an individual,
15
16
                         Plaintiff,             Case No. 2:22-cv-00389-DCN
17
          v.
18                                              MEMORANDUM IN SUPPORT
19   FOUR SQUAREBIZ, LLC, a                     OF MOTION FOR DEFAULT—
20   Wyoming limited liability company,         DEFENDANT MICAH EIGLER
21
     KEITH O. CREWS, an individual and
     the associated marital community,
22
     MICAH EIGLER, an individual and
23   the associated marital community, and
24   JOHN AND JANE DOES 1-10,
25
26                       Defendants.
27
28
          COMES NOW, Plaintiff CODY J. SCHUELER, by and through his
29
30   attorneys of record, Andrew M. Wagley and Samir Dizdarevic-Miller of Etter,
31
32
     McMahon, Lamberson, Van Wert & Oreskovich, P.C., and hereby respectfully


       Memorandum in Support of Motion           ETTER, MCMAHON, LAMBERSON,
       for Default—Page 1                        VAN WERT & ORESKOVICH, P.C.
                                                       618 WEST RIVERSIDE AVENUE, SUITE 210
                                                   SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 26 Filed 03/03/23 Page 2 of 9




1
     submits the following Memorandum in Support of Plaintiff’s Motion for Default
2
3    against Defendant Micah Eigler, individually and the marital community
4
5
     comprised thereof (hereinafter “Defendant Eigler”).
6
                                         BACKGROUND
7
8         This is a commercial lawsuit stemming from the breach of three Bitcoin
9
10   Loan Agreements executed by Defendants Four SquareBiz, LLC, Keith Crews,
11
     and Micah Eigler, along with accompanying Personal Guarantees. (See ECF
12
13   No. 1.) Plaintiff Cody J. Schueler initiated this lawsuit via a Complaint filed on
14
15   September 12, 2022. (See id.) Defendant Eigler was personally served on
16
     September 26, 2022. (See ECF No. 9.) The Agreements that form the crux of
17
18   this lawsuit expressly provide:
19
20         6. Governing Law. This Agreement is governed by the laws of the
21
           State of Idaho, and any questions arising hereunder shall be
           construed or determined in accordance with such law. The venue
22
           for any lawsuit filed by either party related to the terms of this
23         agreement shall be located exclusively in the federal courts of the
24         state of Idaho, U.S.A.
25
26   (See ECF No. 1 at 23, 41, 53, 64, and 74; ECF No. 1-2 at 4, 22, 34, 45, and 55.)
27
          To date, Defendant Eigler has not formally appeared, filed a sufficient
28
29   Answer, or otherwise substantively attempted to defend against this litigation.
30
31   (See Decl. of Andrew M. Wagley in Supp. of Mot. for Default (“Wagley
32


       Memorandum in Support of Motion            ETTER, MCMAHON, LAMBERSON,
       for Default—Page 2                         VAN WERT & ORESKOVICH, P.C.
                                                        618 WEST RIVERSIDE AVENUE, SUITE 210
                                                    SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 26 Filed 03/03/23 Page 3 of 9




1
     Decl.”).) On October 17, 2022, Defendant Eigler filed a purported “Answer” on
2
3    a stock Idaho “Small Claims Department” form. (ECF No. 3.) Plaintiff filed a
4
5
     Motion to Strike Defendant Eigler’s Answer on November 4, 2022. (ECF No.
6
     12.) On January 31, 2023, the Court entered an Order granting Plaintiff’s
7
8    Motion to Strike Answer. (ECF No. 23.)
9
10        In the Order, the Court explicitly stated that Defendant Eigler’s “Answer is
11
     inadequate” and “does not fairly respond to the substance of Schueler’s
12
13   allegations.” (ECF No. 23 at 2-3.) This Order indicates:
14
15         Within thirty (30) days of the date of this Order, Eigler must file an
16
           amended answer that complies with Fed. R. Civ. P. 8(b) and vies
           fair notice of any defenses it raises. . . . If eigler does not file an
17
           appropriate amended answer before this deadline, the Court may
18         enter a default against him.
19
20   (Id. at 4.) To date, Defendant Eigler has not formally appeared through counsel
21
     nor filed an Amended Answer, as required by the Court’s Order. (See id.) On
22
23   January 26, 2023, the Clerk entered Default against Defendants Keith O. Crews
24
25   and Four SquareBiz, LLC. (See ECF No. 22.) Plaintiff now respectfully moves
26
     for default against Defendant Eigler.
27
28                                POINTS & AUTHORITIES
29
30        “When a party against whom a judgment for affirmative relief is sought has
31
32
     failed to plead or otherwise defend, and that failure is shown by affidavit or


       Memorandum in Support of Motion             ETTER, MCMAHON, LAMBERSON,
       for Default—Page 3                          VAN WERT & ORESKOVICH, P.C.
                                                         618 WEST RIVERSIDE AVENUE, SUITE 210
                                                     SPOKANE, WASHINGTON 99201 (509) 747-9100
              Case 2:22-cv-00389-DCN Document 26 Filed 03/03/23 Page 4 of 9




1
     otherwise, the clerk must enter the party's default.” Fed. R. Civ. P. 55(a). The
2
3    two-step process in Federal Court requires the movant to obtain an order of
4
5
     default prior to seeking a default judgment. See, e.g., Gargoyle Granite &
6
     Marble, Inc. v. Opustone, LLC, 2021 WL 5999133, at *2 (D. Idaho 2021) (“The
7
8    process of obtaining a default judgment in federal court involves two steps.”) 1.
9
10   For policy purposes, “the possibility of being held in default acts as a deterrent
11
     to those parties resorting to delay as an element of their litigation strategy.” 10A
12
13   FED. PRAC. & PROC. CIV. § 2681 (Westlaw database updated April 2022).
14
15   Furthermore, where “the defendant fails to answer the plaintiff’s complaint, ‘a
16
     decision on the merits [is] impractical, if not impossible.’” Edelbrock LLC v.
17
18   Genesis Grp. Int'l (USA), Inc., 119 F. Supp. 3d 1168, 1176 (C.D. Cal. 2015)
19
20   (alterations in original) (quoting PepsiCo, Inc. v. California Sec. Cans, 238 F.
21
     Supp. 2d 1172, 1176 (C.D. Cal. 2002)).
22
23          A defaulting defendant must be properly served prior to entry of a default.
24
25   See, e.g., Edelbrock LLC, 119 F. Supp. 3d at 1173. Pursuant to Fed. R. Civ. P.
26
     4, “an individual . . . may be served in a judicial district of the United States by .
27
28   . . following state law for serving a summons in an action brought in courts of
29
30
31   1
        Unpublished, out-of-jurisdiction, and secondary sources offered for
32
     nonbinding, persuasive purposes only.

         Memorandum in Support of Motion            ETTER, MCMAHON, LAMBERSON,
         for Default—Page 4                         VAN WERT & ORESKOVICH, P.C.
                                                           618 WEST RIVERSIDE AVENUE, SUITE 210
                                                       SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 26 Filed 03/03/23 Page 5 of 9




1
     general jurisdiction in the state where the district court is located” or “delivering
2
3    a copy of the summons and of the complaint to the individual personally.” Fed.
4
5
     R. Civ. P. 4(e)(1), (2)(A). In turn, “[s]erving a summons . . . establishes
6
     personal jurisdiction over a defendant . . . who is subject to the jurisdiction of a
7
8    court of general jurisdiction in the state where the district court is located.” Fed.
9
10   R. Civ. P. 4(k)(1)(A).
11
          Idaho’s long arm statute (I.C. § 5-514) provides that a defendant, “whether
12
13   or not a citizen or resident of this state,” subjects himself “to the jurisdiction of
14
15   the courts of this state” by “[t]he transaction of any business within this state” or
16
     “[t]he commission of a tortious act within this state.” I.C. § 5-514(a), (b).
17
18   Similarly, pursuant to Idaho law:
19
20         Service of process upon any such person, firm, company,
21
           association or corporation who is subject to the jurisdiction of the
           courts of this state, as provided herein, may be made by personally
22
           serving the summons upon the defendant outside the state with the
23         same force and effect as though summons had been personally
24         served within this state.
25
26   I.C. § 5-515; accord State of Idaho v. M.A. Hanna Co., 819 F. Supp. 1464, 1474
27
     (D. Idaho 1993) (“Idaho Code § 5–515 provides that service may be made upon
28
29   any entity subject to jurisdiction of the courts of the State of Idaho.”).
30
31
32


       Memorandum in Support of Motion              ETTER, MCMAHON, LAMBERSON,
       for Default—Page 5                           VAN WERT & ORESKOVICH, P.C.
                                                           618 WEST RIVERSIDE AVENUE, SUITE 210
                                                       SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 26 Filed 03/03/23 Page 6 of 9




1
          In order to be in default, the Court must also have personal jurisdiction
2
3    over the defaulting defendant. See, e.g., King v. Russell, 963 F.2d 1301,1305
4
5
     (9th Cir. 1992). “In determining whether personal jurisdiction exists over a
6
     nonresident defendant, plaintiffs must establish that 1) the long-arm status of the
7
8    forum confers personal jurisdiction over the nonresident defendant, and 2) that
9
10   the exercise of jurisdiction conforms with constitutional principles of due
11
     process.” M.A. Hanna Co., 819 F. Supp. at 1474. In addition to Idaho’s long
12
13   arm statute (I.C. § 5-514), due process requirements for personal jurisdiction are
14
15   satisfied based upon forum selection clauses that “have been obtained through
16
     ‘freely negotiated’ agreements and are not ‘unreasonable and unjust.’” Dow
17
18   Chem. Co. v. Calderon, 422 F.3d 827, 831 (9th Cir. 2005) (quoting Burger King
19
20   Corp. v. Rudzewicz, 471 U.S. 462, 472 n. 14 (1985)); accord Chan v. Soc'y
21
     Expeditions, Inc., 39 F.3d 1398, 1406 (9th Cir. 1994) (“a forum selection clause
22
23   alone could confer personal jurisdiction”). Here, the parties entered into a forum
24
25   selection clause that expressly provides: “The venue for any lawsuit filed by
26
     either party related to the terms of this agreement shall be located exclusively
27
28   in the federal courts of the state of Idaho, U.S.A.” (See, e.g., ECF No. 1 at 23.)
29
30        Following proper service and personal jurisdiction, default is warranted if
31
32
     the defendant fails to “plead or otherwise defend.” Fed. R. Civ. P. 55(a). A


       Memorandum in Support of Motion             ETTER, MCMAHON, LAMBERSON,
       for Default—Page 6                          VAN WERT & ORESKOVICH, P.C.
                                                         618 WEST RIVERSIDE AVENUE, SUITE 210
                                                     SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 26 Filed 03/03/23 Page 7 of 9




1
     defendant fails to “plead or otherwise defend” if the defendant does not respond
2
3    to the Complaint by the appropriate deadline or show sufficient intent to defend
4
5
     the allegations in Court.           See Carpenters Labor-Mgmt. Pension Fund v.
6
     Freeman-Carder LLC, 498 F. Supp. 2d 237, 241 (D. D.C. 2007) (“The
7
8    defendant . . . failed to respond by the deadline and has not otherwise taken any
9
10   action indicating an intent to defend itself in this matter.”); accord McMahan v.
11
     CCC Express Corp., 153 F.R.D. 633, 634 (N.D. Ind. 1994) (informal agreement
12
13   “for an indefinite extension” of time to respond to lawsuit insufficient).
14
15        In the situation at hand, default is appropriate against Defendant Eigler.
16
     First, Defendant Eigler was properly served with the Summons and Complaint
17
18   on September 26, 2022. (See ECF No. 9.) Second, the Court has personal
19
20   jurisdiction pursuant to the above-referenced forum selection clause. (See, e.g.,
21
     ECF No. 1 at 23.) Third, Defendant Eigler has failed to adequately respond to
22
23   the lawsuit, despite multiple opportunities and informal extensions of time.
24
25   Although Defendant Eigler participated in a Discovery Plan and Litigation Plan
26
     acting pro se, he has since ignored the Court’s Order granting Plaintiff’s Motion
27
28   to Strike Answer, failed to file an Amended Answer, and has not retained legal
29
30   counsel. Fourth and finally, Defendant Eigler has been provided notice of this
31
32
     Motion for Default, whether or not required by law.


       Memorandum in Support of Motion               ETTER, MCMAHON, LAMBERSON,
       for Default—Page 7                            VAN WERT & ORESKOVICH, P.C.
                                                           618 WEST RIVERSIDE AVENUE, SUITE 210
                                                       SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 26 Filed 03/03/23 Page 8 of 9




1
          Defendant Eigler has stalled this litigation, despite being properly served
2
3    approximately 158 days ago prior to the filing of this Motion. An Order of
4
5
     Default is warranted by law so Plaintiff may subsequently obtain a default
6
     judgment against all Defendants. Fed. R. Civ. P. 55(a).
7
8                                        CONCLUSION
9
10        Based upon the foregoing, Plaintiff respectfully requests that the Court
11
     grant this Motion for Default.
12
13        RESPECTFULLY SUBMITTED this 3rd day of March, 2023.
14
15                                          ETTER, McMAHON, LAMBERSON,
16
                                              VAN WERT & ORESKOVICH, P.C.
17
18                                          By: /s/ Andrew M. Wagley
19                                             Andrew M. Wagley, ISB #10277
20                                             Samir Dizdarevic-Miller, ISB #11471
21
                                               Attorneys for Plaintiff Cody J. Schueler
22
23
24
25
26
27
28
29
30
31
32


       Memorandum in Support of Motion             ETTER, MCMAHON, LAMBERSON,
       for Default—Page 8                          VAN WERT & ORESKOVICH, P.C.
                                                         618 WEST RIVERSIDE AVENUE, SUITE 210
                                                     SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 26 Filed 03/03/23 Page 9 of 9




1
                                CERTIFICATE OF SERVICE
2
3         The undersigned certifies, under penalty of perjury of the laws of the
4
5
     United States, that on the date given below, I caused to be served in the manner
6
     noted copies of the foregoing document upon the following parties:
7
8       Keith Crews                                    U.S. Mail
9       okcrews@yahoo.com                              Facsimile
10      1503 Scenic Overlook Court                     E-Mail
        Kennesaw, GA 30152                             Via Hand Delivery
11
12
        Micah Eigler
13      eigler1@gmail.com                              U.S. Mail
14      6208 Enfield Avenue                            Facsimile
15      Los Angeles, CA 91316                          E-Mail
16      PO Box 9042                                    Via Hand Delivery
17
        Calabasas, CA 91372
18
        Four SquareBiz, LLC
19                                                     U.S. Mail
        okcrews@4squarebiz.com
                                                       Facsimile
20      C/o Registered Agents Inc.
                                                       E-Mail
21      30 North Gould Street, Suite R
        Sheridan, WY 82801                             Via Hand Delivery
22
23
24        EXECUTED this 3rd day of March, 2023 in Spokane, Washington.
25
26
27                                       By:/s/ Jodi Dineen
                                            Jodi Dineen
28
29
30
31
32


       Memorandum in Support of Motion                ETTER, MCMAHON, LAMBERSON,
       for Default—Page 9                             VAN WERT & ORESKOVICH, P.C.
                                                            618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
